                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN



DONIEL CARTER,

                           Plaintiff,

             v.                                        Case No. 18‐CV‐727

ERIKA WATSON
and TARA WEIDEMANN,

                           Defendants.


 COURT MINUTES OF TELEPHONIC SCHEDULING CONFERENCE

             HONORABLE WILLIAM E. DUFFIN PRESIDING

DATE: March 10, 2020 at 10:30 A.M.              DEPUTY CLERK: Mary Murawski

TIME COMMENCED: 10:30:48                        TIME CONCLUDED: 10:41:17

TAPE/COURT REPORTER: Liberty

APPEARANCES:
  PLAINTIFF: Lisa C. Goldman
  DEFENDANTS: Katherine Polich for Tara Weidemann, Kevin Raasch for Erika Watson
COMMENTS:
GOLDMAN would like 6 months for the deadline of discovery.
POLICH & RAASCHE think it is too long.
Discovery Deadline: June 12, 2020.
Any additional Motions for Summary Judgment: July 17, 2020. As it relates to Ms.
Wedemann’s motion for summary judgment that has already been filed, that motion is
deemed filed as of July 17, 2020. That date will be the trigger date for parties to follow
the local rules as for when responses and replies will be due.
COURT: If summary judgment motions are filed and claims survive, or if no summary
judgment motions are filed, then the court will set another telephonic scheduling
conference.


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